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 5
     Counsel for Defendant DOUGLAS STORMS YORK
 6

 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                         SAN JOSE DIVISION

11

12   UNITED STATES OF AMERICA,             )              No. CR 15-00226 BLF
                                           )
13                     Plaintiff,          )              JOINT PRETRIAL CONFERENCE
                                           )              STATEMENT
14                                         )
     vs.                                   )
15                                         )
                                           )              Pretrial Conference: July 16, 2015
16                                         )              Time: 2:00 p.m.
     DOUGLAS STORMS YORK,                  )
17                                         )              Trial Date: July 20, 2015
                       Defendant.          )
18   _____________________________________ )              Honorable Beth Labson Freeman

19

20           Defendant Douglas Storms York is charged in a one count indictment with False

21   Impersonation of an Employee of the United States in violation of 18 U.S.C. § 912. Mr. York, by

22   and through Assistant Federal Public Defender Graham Archer, and the United States, by and

23   through Special Assistant United States Attorney Brianna Penna submit this joint pretrial conference

24   statement pursuant to Criminal Local Rule 17.1-1 for the Court’s consideration in advance of the

25   pretrial conference set for July 16, 2015.

26   \\\

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 1   (1)     Disclosure of Jencks Act material

 2           The parties will provide Jencks Act disclosure in accordance with Rule 26.2 of the

 3   Federal Rules of Criminal Procedure.

 4   (2)     Disclosure of grand jury testimony

 5           The defense filed a motion in limine requesting the Court to direct the government

 6   to produce grand jury transcripts if a witness who likely will testify at the trial of Mr. York also

 7   is likely to have testified before the grand jury. Fed. R. Crim. Proc. 26.2(f)(3). The government

 8   provided a transcript of the grand jury testimony of Agent Donna Aguirre on July 8, 2015.

 9           The defense requests that the government make any additional transcripts available in

10   advance of trial in order to facilitate the orderly presentation of evidence and to remove any need

11   for recess in the proceedings for defense counsel to examine the statements pursuant to Federal

12   Rule of Criminal Procedure 26.2(d). To the extent that the Government does not provide all of

13   the grand jury testimony prior to trial, the defense requests that the Court order the disclosure of

14   the grand jury testimony of any additional persons which the Government calls as a witness

15   pursuant to Federal Rule of Criminal Procedure 6(e)(3)(E)(i).

16   (3)     Disclosure of Brady evidence

17           The defense does not presently have reason to doubt the government’s compliance to date

18   with its Brady obligation. The defense anticipates that the government will have completed its

19   Henthorn inquiry sufficiently in advance of trial to permit the defense to make use of any

20   impeachment materials disclosed.

21   (4)     Stipulation of facts

22           As of the date of this filing, the parties have not entered into any stipulations. The parties

23   will meet to discuss potential stipulations prior to trial. If any stipulations are agreed upon, the

24   parties will notify the Court in advance of trial.

25   (5)     Appointment by the Court of interpreters

26           The parties are not aware of any witnesses that require the assistance of an interpreter.

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 1   (6)     Dismissal of counts and elimination of certain defenses

 2           Mr. York is currently charged in a single count. The defense will not present evidence

 3   of insanity or alibi or argue a violation of the statute of limitations.

 4   (7)     Joinder or severance as to any co-defendant

 5           Mr. York is the sole defendant charged in this matter.

 6   (8)     Identification of informers, use of lineup or other identification evidence and
             evidence of prior convictions of defendant or any witness; etc.
 7

 8           The government has filed a motion in limine to introduce evidence of prior bad acts and

 9   prior convictions of Mr. York under Federal Rule of Evidence 404(b). The defense will file a

10   written opposition to the government’s motion asking the Court to exclude any prior bad acts

11   and prior conviction evidence.

12   (9)     Pretrial exchange of lists of witnesses, except those who may be
             called only for impeachment or rebuttal
13

14           The parties have not disclosed any witness lists. The parties will provide witness lists

15   prior to the pretrial conference. The defense will provide a list for witnesses it may call in its

16   case-in-chief. The defense reserves the right to call additional witnesses for rebuttal and/or

17   impeachment of evidence presented by the government.

18   (10)    Pretrial exchange of documents and exhibits, except materials
             that may be used only for impeachment or rebuttal
19

20            The parties will meet and confer to disclose any exhibits, summaries charts, etc. that will

21   be introduced in its case in chief pursuant to the Court’s standing order.

22           The defense anticipates that the majority of its case will be based upon the government’s

23   witnesses and the materials that have been provided to the defense through discovery. The

24   defense investigation is ongoing, and to the extent that it obtains documents, records or exhibits,

25   it will disclose those it intends to use at trial for purposes other than impeachment or rebuttal.

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 1   (11)    Pretrial resolution of objections to exhibits or testimony

 2           As noted above, the parties will meet and confer prior to the Pretrial conference in order

 3   to inspect any evidence and trial exhibits. After the parties have inspected and copied the

 4   evidence and exhibits, they will be able to determine what objections, if any, they have to these

 5   exhibits and which, if any, exhibits they intend to introduce in their case in chief. As of the date

 6   of this filing, the defense has no exhibits it intends to introduce at trial for purposes other than

 7   rebuttal or impeachment, but its investigation is continuing.

 8   (12)    Preparation of trial briefs on controverted points of law

 9           The parties have separately filed motions in limine on July 2, 2015. The parties will

10   file their objections to the motions in limine concurrently with this pretrial conference statement.

11   If any further issues arise at the pretrial conference, the parties will request to submit additional

12   briefing on those issues.

13   (13)    Scheduling of the trial and witnesses

14           The parties do not anticipate the trial exceeding the time currently allotted.

15   (14)    Request to submit questionnaire for prospective jurors pursuant to Crim. L.R. 24-1,
             voir dire questions, exercise of peremptory and cause challenges and jury
16           instructions

17           The parties will jointly submit the proposed voir dire questions for the

18   Court’s examination of prospective jurors. The defense and the government both request the

19   opportunity to independently question the prospective jurors pursuant to Rule 24(a)(2)(A).

20           The parties will submit their requested jury instructions concurrently with this pretrial

21   conference statement pursuant to the Court’s standing order.

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 1   (15)    Other matters tending to promote a fair and expeditious trial

 2           The parties have no other matters to address at this time.

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 4

 5                                             Respectfully submitted,

 6   Dated: July 9, 2015

 7                                               /s/
                                               GRAHAM ARCHER
 8                                             Assistant Federal Public Defender
     Dated: July 9, 2015
 9
                                                /s/
10                                             BRIANNA PENNA
                                               Special Assistant United States Attorney
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